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IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF IDAHO

SAMUEL DIAZ, an individual,

Plaintiff,
vs.

GENERAL INFORMATION SERVICES,

INC., a foreign corporation,

Defendant.

 

 

Case No.
Ada County Civil Case No: CV-OC-
1602604

NOTICE GF REMOVAL

REMOVAL FROM STATE DISTRICT COURT TO U.S. DISTRICT COURT

TO: PLAINTIFF AND ITS ATTORNEYS OF RECORD, and
THE CLERK OF THE ABOVE-ENTITLED COURT:

PLEASE TAKE NOTICE that pursuant to 28 U.S.C. §§ 1331, 1367, 1441 and 1446,

Defendant General Information Services, Inc. (“GIS”), through its undersigned counsel, hereby

gives notice of the removal of this action from the Ada County Court in the Fourth Judicial

District of ldaho, where it is pending at CV-OC-1602604. Removal is based on federal question

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jurisdiction because a federal question appears on the face of the initial pleading filed by Plaintiff
Samuel Diaz. In support of its notice, GIS states as follows:
I. Background and Timelv Filing

1. This action is pending in the Ada County Court in the State of Idaho, having been
commenced by filing of a Summons and Complaint on or about February 5, 2016. This Notice
of Removal is filed within 30 days after receipt by GIS of the Summons and Complaint, in
compliance with 28 U.S.C. § l446(b). Copies of the Summons and Complaint are attached
hereto as Exhibits A and B and constitute all process, pleadings and orders served upon GIS in
such action. On information and belief, no other pleadings have been served and no orders have
been entered in the action. A copy of the court register obtained through the Idaho Repository,
an online case database, is enclosed herewith as Exhibit C.

2. GIS was served with the Summons and Complaint on February 12, 2016.

3. The United States District Court for the District of Idaho is the proper venue for
removal under 28 U.S.C. § l44l(a) because it is a federal district court that embraces the
jurisdiction where the original action was filed and is pending.

II. This Court Has Federal Question Jurisdiction

4. Plaintiff alleges a claim under FCRA, 15 U.S.C. § 1681, et seq. (e.g., Compl. 1111
2-5, 8-9, 18-22, and 24-27). Therefore, federal question jurisdiction exists over Plaintiff’ s claims
under 28 U.S.C. § 1331 because the resolution of his claims will require adjudication of disputed
questions of federal law.

5. To the extent the Complaint alleges other statutory, state common law, or other

nonfederal claims, this Court has supplemental jurisdiction of any such claims under 28 U.S.C. §

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1367 because those claims arise out of the same operative facts as Plaintiff’ s claims under the
FCRA and “form part of the same case or controversy under Article III of the United States
Constitution.” 28 U.S.C. § 1367(a).
6. Because Plaintiff’s FCRA claims arise under the laws of the United States,
removal of this entire cause of action is appropriate under 28 U.S.C. § 1441(a)~(c).
III. Removal Procedures Have Been Followed

7. Pursuant to 28 U.S.C. § 1446(d), Written notice of the filing of this Notice of
Removal has been provided promptly to the Clerk of the Ada County Court in the State of Idaho
via hand~delivery.

8. A copy of all process, pleadings, and orders served upon the parties in this action
are attached as Exhibit A.

IV. Conclusion

For the foregoing reasons, GIS respectfully requests that this civil action be, and hereby
is, removed to the United States District Court for the District of Idaho, that this Court assume
jurisdiction of this civil action, and that this Court enter such other and further orders as may be
necessary to accomplish the requested removal and promote the ends of justice.

DATED this znd day of March, 2016.

ANDERSON, JULIAN & HULL LLP

By lV/\L,O… :(>u~cl@a/\

Robert Anderson

Yvonne Dunbar, Of the Firm
Atlorneys for Defendant

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CERTIFICATE OF MAILING

l HEREBY CERTIFY that on this 2nd day of March, 2016, l filed the foregoing NOTICE
OF REMOVAL electronically through the CM/ECF system, which caused the following parties
or counsel to be served by electronic means, as more fully reflected on the Notice of Electronic
Filing:

Daniel E. Williams l:j U.S. Mail, postage prepaid
THOMAS, WILLIAMS & PARK, LLP l:l Hand-Delivered

225 N. 9th Street, Suite 800 l:l Overnight Mail

P.o. BOX 1776 |_`_| Facsimile 208-345-7894
Boise, ID 83701-1776 [:| E-Maii

Email: danw@thomaswilliamslaw. com }x{ CM/ECF

Az‘torneysfor Plaintijj"

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